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                         IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

WILLIE ALLEN, JR. and WANDA NORRIS,      )
                                         )
              Plaintiffs,                )                         Case No.
                                         )
       vs.                               )                         COMPLAINT FOR VIOLATION
                                         )                         OF CIVIL RIGHTS
THE CITY OF CHICAGO, MICHAEL WROBEL, )
Star No. 11688, MICHAEL WALSH, JR.,      )                         JURY DEMANDED
Star No. 9004, DOMINGO ENRIQUEZ, JR.,    )
Star No. 12794, PAUL HEYDEN II, Star No. )
13461, KEITH OLSON, Star No. 1560,       )
R. GOMEZ, Star No. 17659, FRANK RAMAGLIA,)
Star No. 1775, ROBERTO DELCID, Star No.  )
19548, SCOTT KORHONEN, Star No. 2826,    )
EMMANUEL ZAMBRANO, Star No. 3325, and )
JONATHAN APACIBLE, Star No. 8558,        )
                                         )
               Defendants.               )

                                  JURISDICTION AND VENUE

        1.      This action arises under the United States Constitution and the Civil Rights Act of

1871 (42 U.S.C. Sections 1983 and 1985). This court has jurisdiction under and by virtue of 28 U.S.C.

Sections 1343 and 1331.

        2.      Venue is founded in this judicial court upon 28 U.S.C. Section 1381 as the acts

complained of arose in this district.

                                              PARTIES

        3.      At all times herein mentioned, Plaintiff, Willie Allen Jr. (“Allen”), was and is now

a citizen of the United States.

        4.      At all times herein mentioned, Plaintiff Wanda Norris, (“Norris”) was and is a citizen

of the United States, and was within the jurisdiction of this court.

        (Allen and Norris are collectively referred to herein as the “Plaintiffs”).


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       5.      At all times herein mentioned Chicago Police Officer Michael Wrobel, Star No.

11688 (“Wrobel”), was employed by the Chicago Police Department, and was acting under color

of state law and as the employee, agent or representative of the Chicago Police Department. This

Defendant is being sued in their individual capacity.

       6.      At all times herein mentioned Chicago Police Officer Michael Walsh Jr., Star No.

9004 (“Walsh”), was employed by the Chicago Police Department, and was acting under color of

state law and as the employee, agent or representative of the Chicago Police Department. This

Defendant is being sued in their individual capacity.

       7.      At all times herein mentioned Chicago Police Officer Domingo Enriguez, Jr., Star

No. 12794 (“Enriquez”), was employed by the Chicago Police Department, and was acting under

color of state law and as the employee, agent or representative of the Chicago Police Department.

This Defendant is being sued in their individual capacity.

       8.      At all times herein mentioned Chicago Police Officer Paul Heyden II, Star No.

13461 (“Heyden”), was employed by the Chicago Police Department, and was acting under color

of state law and as the employee, agent or representative of the Chicago Police Department. This

Defendant is being sued in their individual capacity.

       9.      At all times herein mentioned Chicago Police Officer Keith Olson, Star No. 1560

(“Olson”), was employed by the Chicago Police Department, and was acting under color of state

law and as the employee, agent or representative of the Chicago Police Department. This

Defendant is being sued in their individual capacity.

       10.     At all times herein mentioned Chicago Police Officer R. Gomez, Star No. 17669

(“Gomez”), was employed by the Chicago Police Department, and was acting under color of state

law and as the employee, agent or representative of the Chicago Police Department. This

Defendant is being sued in their individual capacity.

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       11.     At all times herein mentioned Chicago Police Officer Frank Ramaglia, Star No.

1775 (“Ramaglia”), was employed by the Chicago Police Department, and was acting under color

of state law and as the employee, agent or representative of the Chicago Police Department. This

Defendant is being sued in their individual capacity.

       12.     At all times herein mentioned Chicago Police Officer Roberto Delcid, Star No.

19548 (“Delcid”), was employed by the Chicago Police Department, and was acting under color

of state law and as the employee, agent or representative of the Chicago Police Department. This

Defendant is being sued in their individual capacity.

       13.     At all times herein mentioned Chicago Police Officer Scott Korhonen, Star No.

2826 (“Korhonen”), was employed by the Chicago Police Department, and was acting under color

of state law and as the employee, agent or representative of the Chicago Police Department. This

Defendant is being sued in their individual capacity.

       14.     At all times herein mentioned Chicago Police Officer Emmanuel Zambrano, Star

No. 3325 (“Zambrano”), was employed by the Chicago Police Department, and was acting under

color of state law and as the employee, agent or representative of the Chicago Police Department.

This Defendant is being sued in their individual capacity.

       15.     At all times herein mentioned Chicago Police Officer Jonathan Apacible, Star No.

8558 (“Apacible”), was employed by the Chicago Police Department, and was acting under color

of state law and as the employee, agent or representative of the Chicago Police Department. This

Defendant is being sued in their individual capacity.

       (Wrobel, Walsh, Enriquez, Heyden, Olson, Gomez, Ramaglia, Delcid, Korhonen,

Zambrano, and Apacible are collectively referred to herein as the “Individual Defendants”).




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       16.     At all times herein mentioned, the City of Chicago was a political division of the

State of Illinois, existing as such under the laws of the State of Illinois. At all relevant times, The

City of Chicago maintained, managed, and/or operated the Chicago Police Department.

                                   FACTUAL ALLEGATIONS

       17.     On or about September 5, 2017, Plaintiffs resided in their home located at 1700

North Mayfield, Chicago, Illinois.

       18.     At that time and place the Individual Defendants entered and searched the

Plaintiffs’ home located in Chicago, Illinois.

       19.     None of the Individual Defendants knocked and announced their office or indicated

they had a search warrant prior to forcibly entering Plaintiffs’ home on September 5, 2017.

       20.     The Individual Defendants caused excessive and unnecessary property damage

while searching the Plaintiffs’ home on September 5, 2017.

       21.     Plaintiffs did not consent to their home being searched on September 5, 2017.

       22.     On September 5, 2017, the Individual Defendants seized Allen.

       23.     Allen did not consent to being seized.

       24.     There was no outstanding arrest warrant for Allen.

       25.     There was no legal cause to seize Allen.

       26.     On or about September 5, 2017, Defendants Wrobel and Walsh caused false criminal

charges to be brought against Allen for forgery.

       27.     On or about September 12, 2017, the charges terminated in Allen’s favor.

       28.     By reason of the above-described acts and omissions of Defendants, Plaintiffs

sustained injuries, including but not limited to, property damage, humiliation and indignities, and

plaintiffs suffered great mental and emotional trauma, pain and suffering all to their damage in an

amount to be ascertained.

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        29.     The aforementioned acts of defendants were willful, wanton, malicious, oppressive

and done with reckless indifference to and/or callous disregard for Plaintiffs’ rights and justify the

awarding of exemplary and punitive damages in an amount to be ascertained according to proof at

the time of trial.

        30.     By reason of the above-described acts and omissions of the Defendants, and each

of them, Plaintiffs were required to retain an attorney to institute, prosecute and render legal

assistance to them in the within action so that they might vindicate the loss and impairment of her

rights. By reason thereof, Plaintiffs requests payment by Defendants, and each of them, of a

reasonable sum for attorneys’ fees pursuant to 42 U.S.C. Section 1988, the Equal Access to Justice

Act or any other provision set by law.

                                             COUNT I
                           Plaintiffs against the Individual Defendants
                              For Unreasonable Search and Seizure

        31.     Plaintiffs hereby incorporate and reallege paragraphs one (1) through thirty (30)

hereafter as though fully set forth at this place.

        32.     By reason of the Defendants’ conduct, Plaintiffs were deprived of rights, privileges

and immunities secured to her by the Fourth and Fourteenth Amendments of the Constitution of

the United States and laws enacted thereunder.

        33.     The arbitrary intrusion by Defendants into the security and privacy of Plaintiffs’

home was in violation of Plaintiff’s Constitutional Rights and not authorized by law. The

Defendants violated the Plaintiff’s rights in the following manner on September 5, 2017: (1) the

forcible entry and search of Plaintiffs’ home; (2) forcibly entering the home without first knocking

and announcing their office; (3) causing excessive and unnecessary property damage to the

Plaintiffs’ home and personal property contained therein; (4) seizing Plaintiffs’ property without

just cause; and (5) seizing Plaintiff Allen without just cause. These acts were in violation of the

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Plaintiffs’ Fourth Amendment rights. Therefore, the Defendants, and each of them, in their

individual capacity are liable to Plaintiffs pursuant to 42 U.S.C. § 1983.

                                             COUNT II
                              Plaintiff against Defendant Wrobel for
                          Unreasonable Procurement of a Search Warrant

        34.     Plaintiff hereby incorporates and realleges paragraphs one (1) through thirty (30)

hereat as though fully set forth at this place.

        35.     Plaintiff is informed and believes that Defendant Wrobel may have procured a

search warrant on or about September 4, 2017, identifying Allen as the target of the warrant,

Plaintiffs’ home as the premises to be searched, and heroin and any related paraphernalia as the

items to be seized.

        36.     Procurement of the search warrant was unreasonable and unconstitutional for one

or more of the following reasons:

                a. the Defendant relied upon a confidential informant who had not previously

                      provided reliable information in order to obtain the warrant;

                b. the Defendant failed to independently verify information provided by the

                      confidential informant prior to obtaining the warrant;

                c. the Defendant failed to advise the Assistant State’s Attorney approving the

                      warrant application and the judge issuing the warrant of all available relevant

                      information related to Plaintiffs’ home and Allen.

                d. the Defendant failed to conduct a search of available databases for any

                      information connecting Allen to heroin;

                e. the Defendant failed to be truthful with the Assistant State’s Attorney approving

                      the warrant application and the judge issuing the warrant regarding all



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                    information provided by any alleged confidential information and corroboration

                    of that information or lack thereof;

        37.     No reasonably well-trained police officer in the position of Wrobel would have

applied for the search warrant obtained by Wrobel and it was done intentionally or with reckless

disregard to the rights of Plaintiff.

        38.     As a result of Wrobel’s unreasonable procurement of the search warrant, Plaintiffs

sustained damages including but not limited to property damage, property loss, and emotional

distress.

        39.     The procurement of the search warrant was in violation of the Plaintiffs’

Constitutional Rights and not authorized by law. The foregoing was unnecessary, unreasonable

and excessive, and in violation of Plaintiff’s Fourth Amendment rights under the U.S. Constitution.

Therefore, Wrobel, in his individual capacity is liable to Plaintiffs pursuant to 42 U.S.C. § 1983.

                                            COUNT III
              Plaintiffs against the Individual Defendants and the City of Chicago
                          for the State Supplemental Claim of Trespass

        40.     Plaintiffs hereby incorporate and reallege paragraphs one (1) through thirty (30)

hereat as though fully alleged at this place.

        41.     The Individual Defendants committed the tort of trespass when they entered

Plaintiffs’ home without permission or authority on September 5, 2017.

        42.     The City of Chicago is liable to Plaintiffs for the acts of the Individual Defendants

pursuant to the doctrine of respondeat superior.

                                          COUNT IV
               Plaintiff Allen against Wrobel, Walsh and the City of Chicago For
                       The Supplemental Claim of Malicious Prosecution

        43.     Plaintiff incorporates and realleges paragraphs one (1) through thirty (30) hereat as

though fully set forth at this place.

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       44.     On September 5, 2017, Defendants Wrobel and Walsh caused a criminal

prosecution to commence against Allen.

       45.     Wrobel and Walsh, police officers employed by the City of Chicago, maliciously

commenced and caused to be continued a criminal action against Allen without probable cause for

the institution of these proceedings. As a result, Allen was injured emotionally, financially, and

otherwise from the loss of certain constitutionally protected liberty and related rights.

       46.     Wrobel and Walsh initiated, facilitated, and/or continued this malicious prosecution

by the creation of false evidence, by giving false police reports, preparing and signing false

criminal complaints, and/or by preparing false witness statements.

       47.     The criminal proceedings terminated in the Allen’s favor on or about September

12, 2017.

       48.     The City of Chicago is liable to Allen for the acts of Wrobel and Walsh pursuant to

the doctrine of respondeat superior.

       49.     Therefore Wrobel, Walsh and the City of Chicago are liable under the supplemental

state law claim of Malicious Prosecution.

       WHEREFORE, Plaintiffs, by and through their attorneys, ED FOX & ASSOCIATES,

LTD., requests judgment against the Defendants, and each of them as follows:

       1.      That the Defendants be required to pay the Plaintiffs’ general damages including

emotional distress, in a sum to be ascertained.

       2.      That Defendants be required to pay Plaintiffs’ special damages.

       3.      That Defendants, except the City of Chicago, be required to pay Plaintiffs’

exemplary and punitive damages in a sum to be ascertained;




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          4.   That Defendants be required to pay Plaintiffs’ attorneys’ fees pursuant to Section

1988 of Title 42 of the United States Code, the Equal Access to Justice Act or any other applicable

provision;

          5.   That Defendants be required to pay Plaintiffs the costs of suit herein incurred; and

          6.   That Plaintiffs have such other and further relief as the court may deem just and

proper.

                                             BY:     s/Jonathan R. Ksiazek
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                   PLAINTIFFS HEREBY REQUEST A TRIAL BY JURY

                                             BY:     s/Jonathan R. Ksiazek
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